Case 1:15-cv-00349-REB-SKC Document 213 Filed 02/21/18 USDC Colorado Page 1 of 3




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                   Judge Robert E. Blackburn

   Civil Action No. 15-cv-00349-REB-MLC

   SAFE STREETS ALLIANCE, et al.,

           Plaintiffs,

   v.

   ALTERNATIVE HOLISTIC HEALING, LLC, d/b/a Rocky Mountain Organic, et al.,

           Defendants.



                   ORDER GRANTING DEFENDANT’S RENEWED MOTION
                   TO VACATE AND RE-SET THE TRIAL AND EXTEND THE
                    DEADLINES SET FORTH IN THE SCHEDULING ORDER

   Blackburn, J.

           The matter before me is Defendant’s Renewed Motion To Vacate and Re-Set

   the Trial and Extend the Deadlines Set Forth in the Scheduling Order [#210].1 Filed

   February 8, 2018. Plaintiffs oppose the request. (See Plf. Resp. [#212], filed February

   16, 2018.) I grant the motion.

           Presently, trial of this case is scheduled to begin July 23, 2018. A combined

   Final Pretrial Conference and Trial Preparation Conference is set for July 10, 2018. The

   expert disclosure deadline, originally set by Magistrate Judge Shafer in August 2017 for

   January 15, 2018 (see Scheduling Order at 10-11 [#181], filed August 22, 2017), was

   extended by thirty days by Magistrate Judge Carmen (see Courtroom Minutes/Minute


           1
               “[#210]” is an example of the convention I use to identify the docket number assigned to a
   specific paper by the court’s case management and electronic case filing system (CM/ECF). I use this
   convention throughout this order.
Case 1:15-cv-00349-REB-SKC Document 213 Filed 02/21/18 USDC Colorado Page 2 of 3




   Order [#201], filed January 22, 2018). The magistrate judge did not grant defendants’

   request for a 90-day extension because he was not authorized to extend the trial dates

   established by this court. Thus this motion.

         The United States Court of Appeals for the Tenth Circuit has outlined four

   primary factors that should be considered to determine if a continuance is necessary.

   See, e.g., Morrison Knudsen Corp. v. Fireman's Fund Insurance Co.,175 F.3d

   1221, 1230 (10th Cir. 1999). The key relevant factors are:

                (1) the diligence of the party requesting the continuance; (2)
                the likelihood that the continuance, if granted, would
                accomplish the purpose underlying the party’s expressed
                need for the continuance; (3) the inconvenience to the
                opposing party, its witnesses, and the court resulting from
                the continuance; [and] (4) the need asserted for the
                continuance and the harm that [movant] might suffer as
                result of the district court’s denial of the continuance.

   United States v. Rivera, 900 F.2d 1462, 1475 (10th Cir. 1990) (quoting United States

   v. West, 828 F.2d 1468, 1470 (10th Cir. 1987)). Applied to the present case, these

   factors augur in favor of a 90-day continuance of the trial and the combined Final

   Pretrial Conference and Trial Preparation Conference.

         THEREFORE, IT IS ORDERED as follows:

         1. That Defendant’s Renewed Motion To Vacate and Re-Set the Trial and

   Extend the Deadlines Set Forth in the Scheduling Order [#210]. Filed February 8,

   2018, is granted;

         2. That the expert disclosure deadline is extended to April 12, 2018;

         3. That the combined Final Pretrial Conference and Trial Preparation

   Conference set for July 10, 2018, and the trial set to begin July 23, 2018, are vacated;

                                                  2
Case 1:15-cv-00349-REB-SKC Document 213 Filed 02/21/18 USDC Colorado Page 3 of 3




         4. That the combined Final Pretrial Conference and Trial Preparation

   Conference is re-scheduled for October 4, 2018, at 1:30 p.m. (MDT);

         5. That the jury trial is re-scheduled to commence on October 29, 2018, at 8:30

   a.m. (MDT);

         6. That the trial shall be scheduled for five (5) days;

         7. That the Trial Preparation Conference Order [#182], filed August 23, 2017,

   is amended and supplemented accordingly.

         Dated February 21, 2018, at Denver, Colorado.

                                                    BY THE COURT:




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